          Case 4:21-cv-00080-SEB-DML Document 1 Filed 05/10/21 Page 1 of 4 PageID #: 1
                                                                                                                       --
                                                                                                                       /I
                                                                                                                        !




                                    ilNr/-ed.._ Sliffe~ ·IJJ ~e>c:r CJJutt::r·
                                  So~+Vi&fU-.J 'D:s-f-~1ct of ~cL~·
                              /i /                l .. , .
                              t ..,.._   f-i· l       l  lI
                                                                                                 FILED
                              g
                              \...../    l;   I

                                                                                                05/10/2021
                                                                                          U.S. DISTRICT COURT

      \JS ..                                                                            SOUTHERN DISTRICT OF INDIANA
                                                                                           Roger A.G. Sharpe, Clerk




___·b_~NkWJi J1DJJ.t]_Bft.~                                   _,::.-g_.
                                                                          4:21-cv-0080-SEB-DML




                  QvrvtpltH,J{- µ..No\u_-rhe,,CAVJ '12,,tj¥rf-S PY.ct
                   lf-2- L{b~C- § l °l ~ 5

  1    "'
      1-/!ttt..-r0   Ufo~t~~
                _,,.
                              ~




 ~ 6r+r7GM                    ~;Yl/L,
                  Gf'J-r c9F Document
   Case 4:21-cv-00080-SEB-DML         1 Filed 05/10/21                         Page 2 of 4 PageID #: 2          L

I~    On                                      Ho/1fJb!tcl~ _)e-.
                    rJDJ£Vvl.hlU2- b,bJ...Oc?o t/?DfJt7V{J._              A
/itJruv(.,v~°J cwd...- Cll On~ v-Jdtv ~Ulf.5 orJdT4>fltvv'tCCL
f1Lt~. \l/.e,po.-r'-r~· (_-4-)5p!U.£L r(./} HA-l/G..~ (,A,./}~ --t:tt.,~·
     fYJft{,       ~ a._,~-f Bf--f-ViL- p!Ft~l# en
                 "oo t45'                                                              viol ov/-t-a~ t!'Jf-
ftft..v Lf1_, I llrJ il:--e_d $ f a_fa.5 G c)_ t2_; cf-c () r-/          s:e           (   1 <B /.~ whe/l
 ti~ e&~'5f1;# v.Jl{·Vi J'Pp ~d ~nCJ~IJd en tA.fltA·w,ful
 ~~V'bL{Ot./J,.C.V c!l>f- f~ pl0\A.A'1-h,ff_s p~~~:_S (,,I'} ~l'.-<l~Vtflf
 h t:A) /-t.A- e--fGv; " ...-(h tf- d_-e,-{'e./7 ~ COr..Jti f'l IA e-o/ -/o U ~ S/)1/Ze/                            _
     &-Ptft.                utfD   e;-@f,ceJ"s a~ he- foll~d_ -fh.e- fA'~~n-hff.-froff'I
     ht?'        (Jf'~tSt.5          /-v    CltAr>t<sv:flt ~o-<.t~ov ~/he_.pf{)tt..-l;r-A-,·f/
 ~~5· ~iJ ~r (f) ~ b'j cS.~ \A./~ /+./- veh1J~e.s. ~o(_
 c~ rvi vYl ttn J. d 1:-o ~ d.:_ it 15 v·e...J.-i , c Ie.. o.-n ol Pl~ //u.s ti {f:{) r,;lr
       fri,~s ~ u.J'u-i-v~vd- (>12-i~bttbl-e ~~e_ .. Al+er~(lo·vJl~C,
     (!)(1
 Cfi>VVv'VtMieLs ~ P/04.,YJf,~ff ~C?t-5 shol- li? .fhe b#d::-· o-f-'._...l
 t:Yz~ ~, d/f?-OFr°'-~ hr~ fo hrs f71t£-eS." µh;/~ ott hu
  hne,e_-5 ~(~ VJ1{ ~A11d-> ~~ 017 ~/~ h-e~ol                                      '+./-€.)GI(        m
 u!"J /k-5? J .e.p l9~lj- e,J. . A r-JJ Wl/t· It Ct ow 5!_j rm VL {-e_~ {-hL p Jr-1t1i-fttr
 Ca~>,n3 -:.rrr.Jbp""-"~lt8U- /7~ fo .~e_ ?l~<.·fF;. tn                              _
  V(_r;fovf'ior7 ~f ~ /:>/ OLl...lft-1-Ff-5              <g~<,.. OJ~v~fl ~ f- nJhiJ_
        \
1-,~ Orz iJEJ Jf2-f/1A)oe,,f2 Cf
            ":     ......                   1   -.
                                                     ('h!L.-   of-.e.['U? ~      fh~ w~ ce____ ~_ "         A



Cf'l        N\.J   r7 O<.__, ( UJ-vv\. (J (ou_.~-: Cn          ~ft, e_l'CA// ce_ m -r:::     l./f o ( ccf-1 o ri
 o-f- --[-~{--!~ L{--(_., ~l(-~ <;f-o...,+u Gaf_~,, Seel-< otv !9_8 fr
  ir--/0.e.-n. ii e.. _f=< te2d D- ~ YVLl'~ cJ CcV1.A-p / ~~t'\.+ -f:.o .Lev.er
 .c.yO tt-z.e- ~Lo.n5 0f- c<je..,,fs +roVV'- -:I~-(F,el2~µn vt ( f-;z.,
   15' ~ ( c C-.e_, o&-,p o-r-+i/Vl ~-+ , -(i/xx..-f:s l'l<tOT<- -fu. ((:J e.. -cp}G...>. ri. '2-Ll

 Ul              p~c:z5r'~h            !.
             Case 4:21-cv-00080-SEB-DML Document 1 Filed 05/10/21 Page 3 of 4 PageID #: 3
                                                                                             3
       ,
       j.,        /Ji
                  rt~n
                                  +'ff'
                                   ('   rqu~~~5 pv<-n.tti'v-e, do-rvt~c:; es ~~:(\s-f
~{tri.£-- ~ ~eA1 d ""-0              t-   tn   ~{-trµ_. ~f    c9f:-   ~~.s-     fht.f(iari
el& (Lr;vrs.

  2- • Pl~ h-Ff- r ~ u,.e, 6t-s Com p~,..isc;...,f--orU\ olC<JVt ""-:') es
 ~~~ ~ d...e}4n.ol..~                CoVert.":'.J ~( fAS+,p---e>e"f;
~oe t=v~t-~~ rvi.e..dl~( a.-'i{Je.f> ~ ~ OLSsou o.. +~o{ u;c.f-h
~ trr.ep~v--lol~ o{~;·e_) 6u-b+·~e-d..- CJn fiov-l.Nt.h~
 f3,    d.CJd-0 ...


  3_ ·R~&:ff, r.e't u~sb l;JJ<.Af)cl-:c .;~ ,.~i~Fp~iloJ-Lrij
--f:vi<-- (,(Se..- Ci f- ~ e, c...n "'1 { () cc ( c 0 l'Vl pI Ci!.. ~ (\ (- +' (~ IO._j
   ~ clefen d. "4'l (-                    u:
                                      a..fl '.J  Cn t"n I I\&<., ( ( 11 Vt.sf-t 5 e>v-h 0 Y\ .
   a.f\~/or proo<-edLN5                   ~. t·hor<9CA5~ rnv.e.s·~j4Ion
                                                  t.Hln(
   DVf +vi-.e_ J.~pccrf-'rYl-u'\·{- u ( ~ l/\~c e-e., rs con d LAL~r'4_.c{ 1n+o
  -f:tz~ «( (~ cJ-lon s 6f ft.ri ts Ci\.d;~YJ

             ,,         ·.
tf.                re.q~5+s :(..t:J JtAflGil v~ ~-'2-.( t~ ~r1j~~
         Vl..o-t rif ff.     .l

 ~-=v rVV\ tJ.f ~ O r.J:.<-.r d.i f'-e du15 -b-i.e cf~rf-yv,e.ef o+:.
----><A>fzc,e_ to ;Av:e-s+lqJ CA-f'-L --tl-te ~~q
                                                _/
                                                   ~t ~.rv.S                      (J/ ~ 1_5
  Ot0f-co v1 ..
Case 4:21-cv-00080-SEB-DML Document 1 Filed 05/10/21 Page 4 of 4 PageID #: 4


         \             r;---.....      J
        0 tA.f L\ L.Je...rvl 8'-() C/"...__/
               ..._;
                                                                       (




.Ar-e...- l./\O
             tA-J...e.Nt~d.-J\.-0\                     DL-   jvurV\ fr1 ~r   l.
           1../                 ....)                            v            "

                                    j . £11e-s ....;
                                                                              no
